OPINION — AG — ** LAW ENFORCEMENT — COUNTY — CITY ** A CITY AND COUNTY MAY, UNDER 74 O.S. 1001 [74-1001] ET SEQ., KNOWN AS THE INTERLOCAL COOPERATION ACT, CONTRACT TO PROVIDE POLICE SERVICES. THE COUNTY COULD USE SAID FEE TO HIRE ADDITIONAL PERSONNEL FOR ITS SHERIFF AS CONTEMPLATED UNDER THE STATUTES, BUT COULD 'NOT' INCREASE THEIR SALARIES IN CONTRAVENTION OF THE SAME. THE DEPARTMENT OF PUBLIC SAFETY, AS AN AGENCY OF THE STATE OF OKLAHOMA, COULD CONTRACT WITH AN OKLAHOMA COUNTY AND/OR OKLAHOMA CITY IF SUCH CONTRACT IS COMPATIBLE WITH THE LAWS OF THE STATE AND CONFORM TO THE INTERLOCAL COOPERATION ACT. (MUNICIPALITY TROOPER, SALARY, FEES) CITE: 19 O.S. 180.64 [19-180.64], 19 O.S. 180.67 [19-180.67], 74 O.S. 1101 [74-1101], 74 O.S. 1001 [74-1001], 74 O.S. 1003 [74-1003], 74 O.S. 1004 [74-1004](C) (DONALD B. NEVARD)